Case 1:16-cv-01031-TSE-MSN Document 174 Filed 06/15/18 Page 1 of 3 PageID# 3222




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)


 STEVEN KNURR, Individually and on                )
 Behalf of All Others Similarly Situated,         )
                                                  )
                        Plaintiff,                )
                                                  )    Civil Action No. 1:16-cv-01031-TSE-MSN
       vs.                                        )
                                                  )
 ORBITAL ATK, INC., et al.,                       )
                                                  )
                         Defendants.              )
                                                  )

     PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS’ COMPLIANCE WITH THE
      COURT’S MAY 4, 2018 ORDER AND PRODUCTION OF ALL PURPORTEDLY
                           PRIVILEGED DOCUMENTS

        Pursuant to Rules 26, 34, and 37 of the Federal Rules of Civil Procedure and Local Civil

 Rule 37(A) and (D), Lead Plaintiff Construction Laborers Pension Trust of Greater St. Louis and

 Named Plaintiff Wayne County Employees’ Retirement System (“Plaintiffs”) move to compel

 Defendants to comply with Judge Nachmanoff’s May 4, 2018 order [ECF No. 165] and to produce all

 purportedly privileged documents, including those related to the Internal Investigation. The grounds

 for this Motion are set forth in the accompanying Memorandum of Law. The undersigned

 certifies that a good faith effort was made to narrow or resolve the issues set forth in this Motion

 in accordance with Local Civil Rules 7(E) and 37(E).

        Respectfully submitted, this 15th day of June 2018.

                                                      /s/ Craig C. Reilly
                                                      Craig C. Reilly (VSB # 20942)
                                                      111 Oronoco Street
                                                      Alexandria, Virginia 22314
                                                      T: 703/549-5354
                                                      F: 703/549-5355
                                                      E: craig.reilly@ccreillylaw.com
                                                      Liaison Counsel for Lead Plaintiff
Case 1:16-cv-01031-TSE-MSN Document 174 Filed 06/15/18 Page 2 of 3 PageID# 3223




 ROBBINS GELLER RUDMAN
 & DOWD LLP
 SAMUEL H. RUDMAN
 58 South Service Road, Suite 200
 Melville, NY 11747
 Telephone: 631/367-7100
 631/367-1173 (fax)

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 JAMES E. BARZ
 FRANK RICHTER
 200 South Wacker Drive, 31st Floor
 Chicago, IL 60606
 Telephone: 312/674-4674
 312/674-4676 (fax)

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 MAUREEN E. MUELLER
 KATHLEEN B. DOUGLAS
 120 East Palmetto Park Road, Suite 500
 Boca Raton, FL 33432
 Telephone: 561/750-3000
 561/750-3364 (fax)

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 JOHN C. HERMAN
 PETER M. JONES
 Monarch Tower, Suite 1650
 3424 Peachtree Road, N.E.
 Atlanta, GA 30326
 Telephone: 404/504-6500
 404/504-6501 (fax)
 Lead Counsel for Plaintiff

 VANOVERBEKE MICHAUD &
 TIMMONY, P.C.
 THOMAS C. MICHAUD
 79 Alfred Street
 Detroit, MI 48201
 Telephone: 313/578-1200
 313/578-1201 (fax)
 Additional Counsel for Plaintiff Wayne County
 Employees’ Retirement System


                                                 2
Case 1:16-cv-01031-TSE-MSN Document 174 Filed 06/15/18 Page 3 of 3 PageID# 3224




                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2018, I filed the foregoing pleading or paper through the

 Court’s CM/ECF system, which sent a notice of electronic filing to all registered users.

                                                      /s/ Craig C. Reilly
                                                      Craig C. Reilly (VSB # 20942)
                                                      111 Oronoco Street
                                                      Alexandria, Virginia 22314
                                                      T: 703/549-5354
                                                      F: 703/549-5355
                                                      E: craig.reilly@ccreillylaw.com
                                                      Liaison Counsel for Lead Plaintiff




                                                 3
